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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

CHAPTER 4 CORP.,
                                                     Case No. 19-cv-03785
               Plaintiff,
                                                     Judge Charles R. Norgle
v.
                                                     Magistrate Judge Jeffrey Cummings
XIE JI PING, et al.,
               Defendants.


                       NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Chapter 4

Corp. (“Plaintiff”) hereby dismisses this action with prejudice as to the following Defendant:

            Defendant Name                                             Line No.
          ROEGADYN GYM Store                                              34

Dated this 25th day of July 2019.            Respectfully submitted,


                                             /s/ Allyson M. Martin
                                             Amy C. Ziegler
                                             Justin R. Gaudio
                                             Allyson M. Martin
                                             Greer, Burns & Crain, Ltd.
                                             300 South Wacker Drive, Suite 2500
                                             Chicago, Illinois 60606
                                             312.360.0080
                                             312.360.9315 (facsimile)
                                             aziegler@gbc.law
                                             jgaudio@gbc.law
                                             amartin@gbc.law

                                             Counsel for Plaintiff Chapter 4 Corp.
